                                                                                               REC fir,
                                                                                             in Clerk's offie:e
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                                                               AUG 16 2022
                                          ',   ~ke-             DIVISION                  U.S. District Cart
                                                                                         Middle District o f TN
                r
        (Name)                                                   (List the names of all the plaintiffs filing
                                                                  this lawsuit. Do not use "et al." Attach
        (Prison Id. No.)                                          additional sheets if necessary.)



        (Name)
                                                                Civil Action No.
        (Prison Id. No.)                                         (To be assigned by the Clerk's Office.
                                                                 Do not write in this space.)
                    Plaintiff(s)


v. r                                                            JURY TRIAL REQUESTED eYES               NO


                                                                (List the names of all defendants
        (N me)                                                  against whom you are filing this
          /
                                                                lawsuit. Do you use "et al." Attach
        Name                                                    additional sheets if necessary.)

                    Defendants)



                           COMPLAINT FOR VIOLATION OF CIVIL RIGHTS FILED
                                  PURSUANT TO 42 U.S.C. § 1983

I.      PARTIES TO THIS LAWSUIT

       A.   Plaintiff(s) bringing this lawsuit:

            1.       Name of the first plaintiff:                  ~4, a,&A
                     Prison I.D. No. of the first plaintiff:
                     Address of the first plaintiff:                                                        eN


            Status of Plaintiff: CONVICTED                      PRETRIAL DETAINEE (


            0        Name of the second plaintiff:
                     Prison I.D. No. of the second plaintiff:
                     Address of the second plaintiff:



            Status of Plaintiff: CONVICTED ()                   PRETRIAL DETAINEE (_)

Revised 11/2014
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 (Include the name of the institution and mailing address with zip code for each plaintiff. If
 any plaintiff changes his or her address, he or she must notify the Court immediately. If there
 are more than two plaintiffs, list their names, prison identification numbers, and addresses on
 a separate sheet of paper.)

            Defendant(s) against whom this lawsuit is being brought:

                 Name of the first defendant:                                              W3ALG
                 Place of employment of the first defendant:    ~rA41 e, :5 11t'L    /   Avyle

                 First defendant's address:



                 Named in official capacity?      L— 1 es               No
                 Named in individual capacity?        qes               No
                                                 41

            2.   Name of the second defendant:         /I"7 !~           e      +~ ~- C  Ig o         Lr̀~
                 Place of employment of the second defendant:                   o      G ✓


                 Second defendant's address:                                   GJF1~1



                 Named in official capacity?      k4es                  No
                 Named in individual capacity?   k"Yes                  No


(If there are more than two defendants against whom you are bringing this lawsuit, you must
list on a separate sheet of paper the name of each additional defendant, his or her place of
employment, address, and the capacity in which you are suing that defendant. If you do not
provide the names of such additional defendants, they will not be included in your lawsuit. If
you do not provide each defendant's proper name, place of employment, and address, the
Clerk will be unable to serve that defendant should process issue.)

11.    JURISDICTION

       A.   Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (applies to state prisoners).
            Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(a)(3).

            If you wish to assert jurisdiction under different or additional statutes, you may list
            them below:




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III.     PREVIOUS LAWSUITS (The following information must be provided by each plaintiff.)

        A.    Have you or any of the other plaintiffs in this lawsuit filed any other lawsuit(s) in the
              United States District Court for the Middle Distric of Tennessee, or in any other
              federal or state court?         _Yes                   o


        B.    If you checked the box marked "Yes" above, provide the following information:

             1.   Parties to the previous lawsuit:

                  Plaintiffs


                  Defendants



             2.   In what court did you file the previous lawsuit?


                  (If you filed the lawsuit in federal court, provide the name of the District. If you
                  filed the lawsuit in state court, provide the name of the state and the county.)

             3.   What was the case number of the previous lawsuit?                 d   4
             4.   What was the Judge's name to whom the case was assigned?



             5.   What type of case was it (for example, habeas corpus or civil rights action)?



             6.   When did you file the previous lawsuit? (Provide the year, if you do not know
                  the exact date.)                                            '

             7.   What was the result of the previous lawsuit?          For example, was the case
                  dismissed or appealed, or is it still pending?          e   1 4



             8.   When was the previous lawsuit decided by the court? (Provide the year, if you
                  do not know the exact date.)                /If ;a

             9.   Did the circumstances of the prior lawsuit involve the samrfacts                  or
                  circumstances that you are alleging in this lawsuit? _Yes  No


             (if you have filed more than one prior lawsuit, list the additional lawsuit(s) on a
             separate sheet of paper, and provide the same information for the additional
             lawsuit(s).)




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                                                                                                   4


IV.     EXHAUSTION

        A.    Are the facts of your lawsuit related to your present confinement?


              _Yes                ZNo
        B.    If you checked the box marked "No" in question 111.6 above, provide the name and
              address of the prison or jgil to which the facts of this lawsuit pertain.

                  /YJLIf r~ .~/   /AR V                    iQ~.F' %~ r1/s o/C   u   C   '~   74/

        C.    Do the facts of your lawsuit relate to your confinement in a Tennessee state prison?

             _Yes                   No

             (If you checked the box marked "No," proceed to question IV.G. If you checked the
             box marked "Yes," proceed to question IV.D.)

       D.    Have you presented these     to the prison authorities through the state
             grievance procedure?     f2Yes        _No

       E.    If you checked the box marked "Yes" in question III.D above:

             1.    What steps did you take?     S ,----&       6'f     i4 rn,4 Lr -1    4A
                                                                                         '


             2.    What was the response of prison authorities?




       F.    If you checked the box marked "No" in question MD above, explain why not.




       G.    Do the facts of your lawsuit pertain to your confinement in a detention facility
             operated by city or county law enforcement agencies (for example, city or county
             jail, workhouse, etc.)?      _Yes            v,,/No

       H.    If "Yes" to the question above, have you presented these facts to the authorities
             who operate the detention facility?  _Yes              No

       I.    If you checked the box marked "Yes" in question III.H above:

             1.    What steps did you take?                     At f K


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                 What was the response of the authorities who run the detention facility?




            If you checked the box marked "No" in question IV.H above, explain why not.




V.      CAUSE OF ACTION


Briefly explain which of your constitutional rights were violated:

                     ka
                                                                          Ile—




VI.    STATEMENT OF FACTS


State the relevant facts of your case as briefly as possible. Include the dates when the incidents
or events occurred, where they occurred, and how each defendant was involved. Be sure to
include the names of other persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth each claim in a
separate paragraph. Attach additional sheets, if necessary. Use 8 % inch x 11 inch paper. Write
on one side only, and leave a 1-inch margin on all 4 sides.


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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


JARVIS TAYLOR,
      Plaintiff,




V.                                                           Civil No:
                                                             Jury Demand


CORECIVIC O.I.C. BORDEN, LT.MURRY,                  )
CAPT.MITCHELL O.I.C. GREEN,                         )
SGT.Pubalo                                          )
           Defendants.                              )

                      CAUSE OF ACTION/ STATEMENTS OF THE FACTS


       That on 9-18-2021, at 5:30 p.m., O.I.C. Borden acting under authority, acting under color of

state law, was passing out food with two other inmates. So when she got to my cell door, I asked can I

go take a shower cause we been on lock-down and they been just letting us go , but she wast' hearing

that. So we exchanged words, and I then asked her to call somebody down here, so she like no. I look

out the pod door of Echo Charlie and see O.I.C.Green standing outside Echo A door, and I tell her look

the whole pod is out, she tells me to step back in my cell and calls O.I.C., Green over and he gets to my

cell door and I ask him am I one of these trouble makers, he says no. she then tells him don't talk to me.

so I tell O.I.C. Green and Borden that I'm not one of those gangbangers or thugs, all I want is a shower,

and if I do anything other that take a shower ,you can write me up. Then she began to pepper

spray me. I run back into my cell and put some water in my eyes, then O.I.C. Green came and placed

hand-cuffs on me, all while the security camera footage is observing me with a white t-shirt, grey

shorts and white shoes.                                 1.


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       When we get to Echo Charlie pod door, that when Lt.Murry, Capt.Mitchell and Sgt. Pubalo

while acting under authority , acting under color of state law opens the pod door,which I'm not saying

anything at this time, until I hear somebody say you want to hit a woman , I turn my head as I'm

walking, and say I didn't hit or touch O.I.C. Borden, when we get to the front door outside of Echo

Bldg., that's when one of them flip me onto the ground, somebody has their foot on my neck and

Lt.Murry has his knee on the left side of my face,smashing my right side of my face into the ground,

and then started slapping me repeatedly with his walkies-talkie. They pick me up and all I said was I

didn't touch her. Capt.Mitchell yelled shut up whore, I run this bitch not y'all. By that time blood was

all over my face, only one shoe on cause when they flip me, one shoe came off. They then proceed to

take me to the clinic, they sit me on the table, and a nurse came to try and rise my face off cause blood

was every where. Capt.Mitchell said she was fixing to look at the camera and then left and came back a

few minutes later, and said that the security camera footage showed that I didn't hit or touch

O.I.C.Borden. I started asking the people around me for their names, but no one gave me any,nor did

anyone take pictures of my injuries, nor was any bandages or ointment given for my injuries. That's

when Lt.Murry came back in the room saying "you must have God on your side", and then placed me

in a holding cell in the clinic, still being visible of security camera footage. I'm still in their bleeding,

no one wants to talk nor help me but this case manager named Ms.Stokes was working overtime,

came,looked at me and helped me by bringing a Ice Pack, which is still on camera. Moments later

Sgt.Pubalo came and took me to Segregation, while on the way I asked him why he hit me, Sgt.Pubalo

then state "don't put that on me", the only thing I did was put my foot on your neck. When we get to

Segregation AC-pod cell 201,its camera right in front of my cell , it sees my face beaten, my t-shirt was

with covered in blood, with one shoe on. I went without a bed-roll(mattress and sheets and blanket) for

two (2) nights. My cellmate press the calm button in the cell, and a lady answered an he told her its

                                                     2,

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been 24 hrs and he needs medical attention and a bedroll. The lady says well wait to the 25'. Hr so my

cellmate, responded with a cry for help. 5 minutes later Capt. Mitchell and Lt.Murry came running to

our door yelling talking about which one of you bitches on the call button, so when no one answers,

Lt.Murry pulls out his pepper spray causing my cellmate to say, he not cuffing him up, so they can beat

him up, then my cellmate covers the flap on the door with a towel, then Lt.Murry grabs it, then

Capt.Mitchell yelling talking about she runs this bitch, y'all gone learn ,they then tell us to sit on the

bed, roll the door and try to intimidate us . This all being captured on camera on 9-20-21 between 6 and

8 p.m. I Filed two 501C reports with no response, One on 9-21-21, I gave it to a female night captain

between 9.pm. & 10p.m. Then on 9-24-21 around 1:45 p.m., I gave a second 501c to Sgt. Ratcliff to

be filed while in Segregation. Later I saw Nurse Stewart and told her what happen to me,when she

saw my face, took me to see Dr. T-Henson, told her my right side of my face been going numb, she

examined it, and signed me up for a X-ray at 7:50 p.m. On 9-28-21 at 10:50 a.m., while still being in

segregation, was taken for X-ray of my face. I remained in segregation for 12 days, and only had five

days segregation time. After my release I gave a third 501C to Capt. Porter on 10-4-21 around 1:25

p.m. In front of Echo Charlie Pod door.

       The offices working saw my injuries, Officers Harmon, Wilson and Dr. T-Henson gave me

alcohol pads, bandages and triple antibiotic ointment for the cut on my face, which was above my left

eye, my right jaw line above my jaw was cut from the blow of the hit when Lt. Murray droped his knee

on my face, smashing my right side in the ground. My top and bottom lips and my nose was busted,

with cuts on my left elbow, from being hand-cuffed and flipped on the ground and Sgt. Pubalo was

applying excessive force/pressure while pending me down with his foot on my neck. See security

camera footage inside Echo-Charlie pod, outside Echo Building, and Alfa Unit security camera

footage in Alfa Charlie. See Clinic footage also.

                                                    3.

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       Plaintiff respectfully submits that excessive force used by the named defendants constitutes

Eight Amendment Civil rights violations by CoreCivic officials and medical staff when they failed to

exercise the standard of care that a reasonably prudent person would have exercised when making the

decision not to administer adequate treatment, which constituted Deliberate Indifference when

others in similar situations have received better/adequate treatment.

       Deliberate Indifference occurred when CoreCivic officials/ Echo and Alfa Unit Team/Staff

along with medical failed to follow policy and procedures, and these actions or inaction's of defendants

negligence (careless) , with a willful disregard for rules,regulations, policy and procedures has caused

severe injuries current and future to this plaintiff.

       Plaintiff respectfully submits that society's standard are violated whenever prison officials such

as the defendants makes a decision that maliciously, evilly and cruelly place inmates in positions to be

hurt or harmed, whether substantial injury is evident or not,violates this plaintiffs Civil Rights.

       Plaintiff respectfully submits that defendants violated plaintiffs civil rights under the Farmer

Rule when the plaintifffaced an objective "substantial risk of serious harm" and there was a serious

big risk that the plaintiff would suffer future health re-repercussions from the violation of

TDOC/CoreCivic use of excessive force and or Medical policy and procedures.

       These actions and behaviors of CoreCivic officials while acting under authority, acting under

color of state law violated Plaintiffs civil and constitutional rights, causing extreme emotional, physical

and mental distress, for fear of further bodily harm.

        Respectfully Su~mitted


.Yarvis Ta~Tor
Trousdale Turner Corr.Cte.
140 MaconWay
Hartsville,Tn 37074

                                                        4.

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 VII.    RELIEF REQUESTED: State exactly what you want the Court to order each defendant to
 do for you.




          I request a jury trial.   ly Yes              No


VIII.     CERTIFICATION


I (we) certify under the penalty of perjury that the foregoing complaint is true to the best of my
(our) information, knowledge and belief.

          Signature:                                          Date:
          Prison Id. N6.    -3 5') ff 57
          Address (Include the city, state and zip code.):   iqo m4cc^ G0.44
              tfnrkviI(•e     r;v       3702Y

          Signature:                                          Date:
          Prison Id. No.
          Address (Include the city, state and zip code.):



ALL PLAINTIFFS MUST SIGN AND DATE THE COMPLAINT, and provide the information
requested above. If there are more than two plaintiffs, attach a separate sheet of paper with
their signatures, dates, prison identification numbers, and addresses.

ALL PLAINTIFFS MUST COMPLETE, SIGN, AND DATE SEPARATE APPLICATIONS TO PROCEED IN
DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS, if not paying the civil filing fee.


SUBMIT THE COMPLAINT AND W THE REOUIRED FILING FEE OR (2) COMPLETED APPLICATION
TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES AND COSTS TOGETHER.
Complaints received without the required filing fee or application to proceed without
prepayment of fees will be returned. Filing fees and applications to proceed without
prepayment of fees submitted without a complaint will be returned.




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